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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF NEW MEXICO LLENK-LAS CRUCES

UNITED STATES OF AMERICA, )
)

Plaintiff, ) CRIMINAL NO. 15-1515 RB
)
vs, )
)
BERNICE HOLGUIN MIRANDA )
a.k.a. "Bernice Holguin Ramos", )
)
Defendant. )

PLEA AGREEMENT

Pursuant to Federal Rule of Criminal Procedure 11, the parties hereby notify the Court of
the following agreement between the United States Attorney for the District of New Mexico, the
defendant, BERNICE HOLGUIN MIRANDA a.k.a. "Bernice Holguin Ramos", and the
defendant's counsel, CORI ANN HARBOUR-VALDEZ:

REPRESENTATION BY COUNSEL

1, The defendant understands the defendant's right to be represented by an attorney
and is so represented. The defendant has thoroughly reviewed all aspects of this case with the
defendant's attorney and is fully satisfied with that attorney's legal representation.

RIGHTS OF THE DEFENDANT

2. The defendant further understands the following rights:
a. to plead not guilty;
b. to have a trial by jury;
c. to confront and cross-examine witnesses and to call witnesses to testify for

the defense; and

d. against compelled self-incrimination.
 

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WAIVER OF RIGHTS AND PLEA OF GUILTY

3, The defendant hereby agrees to waive these rights and to plead guilty to the

Indictment charging violations of (Count 1) 21 U.S.C. § 846: Conspiracy to Possess with Intent

to Distribute a Mixture and Substance Containing a Detectablé Amount of Methamphetamine,

contrary to 21 U.S.C.

§§ 841(a)(1) and (b)(1)(C); and (Count 24) 21 U.S.C. § 843(b): Use of a

Communication Facility to Further the Commission of a Drug Trafficking Crime; 18 U.S.C. § 2:

Aiding and Abetting.

SENTENCING

4, The defendant understands that the minimum and maximum penalty the Court can

impose for Count 1 is:

a. imprisonment for a period of not less than five (5) years nor more than
forty (40) years;

b. a fine not to exceed $5,000,000.00;

c. a mandatory term of supervised release of not less than four (4) years. (If
the defendant serves a term of imprisonment, is then released on
supervised release, and violates the conditions of supervised release, the
defendant's supervised release could be revoked--even on the last day of
the term--and the defendant could then be returned to another period of
incarceration and a new term of supervised release); and

d. a mandatory special penalty assessment of $100.00.

5. The defendant understands that the minimum and maximum penalty the Court can

impose for Count 24 is:

a.

b.

imprisonment for a period of not more than four (4) years;

a fine not to exceed $250,000.00:

a mandatory term of supervised release of one (1) year. (If the defendant
serves a term of imprisonment, is then released on supervised release, and
violates the conditions of supervised release, the defendant's supervised
release could be revoked--even on the last day of the term--and the

 

 
 

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defendant could then be returned to another period of incarceration and a
new term of supervised release); and

d. a mandatory special penalty assessment of $100.00.

6. The parties recognize that the Sentencing Guidelines are advisory, and that the
Court is required to consider them in determining the sentence it imposes.

7. It is expressly understood and agreed by and between the defendant and the
United States that: oe

a. The United States has made, and will make, NO AGREEMENT pursuant
to Federal Rule of Criminal Procedure 11(c)(1)(C), that a specific sentence is the appropriate
disposition of this case.

b. The United States has made, and will make, NO AGREEMENT to
approve, to oppose, or not to oppose pursuant to Federal Rule of Criminal Procedure 11(c)(1)(B),
any request made by the defendant or on behalf of the defendant for a particular sentence in this
case, other than the stipulations agreed to below.

c. The United States hereby expressly reserves the right to make known to
the United States Probation Office and to the Court, for inclusion in the presentence report
prepared pursuant to Federal Rule of Criminal Procedure 32, any information that the United
States believes may be helpful to the Court, including but not limited to information about any
relevant conduct under USSG § 1B1.3.

d. Except under circumstances where the Court, acting on its own, fails to
accept this plea agreement, the defendant agrees that, upon the defendant's signing of this plea

agreement, the facts that the defendant has admitted under this plea agreement as set forth below,

 

as well as any facts to which the defendant admits in open court at the defendant's plea hearing,

shall be admissible against the defendant under Federal Rule of Evidence 801(d)(2)(A) in any
 

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subsequent proceeding, including a criminal trial, and the defendant expressly waives the
defendant's rights under Federal Rule of Criminal Procedure 11(f) and Federal Rule of Evidence
410 with regard to the facts the defendant admits in conjunction with this plea agreement.
DEFENDANT'S ADMISSION OF FACTS

8. By my signature on this plea agreement, I am acknowledging that I am pleading
guilty because I am, in fact, guilty of the offense(s) to which I am pleading guilty. I recognize
and accept responsibility for my criminal conduct. Moreover, in pleading guilty, I acknowledge
that if I chose to go to trial instead of entering this plea, the United States could prove facts
sufficient to establish my guilt of the offense(s) to which I.am pleading guilty beyond a
reasonable doubt, including any facts alleged in the Indictment that increase the statutory
minimum or maximum penalties. I specifically admit the following facts related to the charges
against me, and declare under penalty of perjury that all of these facts are true and correct:

Between December 18, 2014, and April 30, 2015, I conspired with Toby
Chapin Padilla and Freddy L. Lucero to possess with intent to distribute and
to distribute methamphetamine. I purchased methamphetamine regularly
from Toby Chapin Padilla, which methamphetamine I sold to others. I
generally purchased 3.5 grams from him at a time, which I called an “eight
ball” because it is approximately one-eighth of an ounce.

On December 18, 2014, I texted Padilla, warning him that police were
searching his residence. On December 21, 2014, I delivered a firearm and
ammunition to Padilla. On January 6, 2015, I asked Padilla when he would
have more methamphetamine to give me, since all of the individuals to whom
I sold methamphetamine needed it. I also agreed to bring methamphetamine
to Padilla for his use. On January 7; 2015, I arranged for other drug dealers
to lend methamphetamine to Padilla, and delivered the methamphetamine to
Padilla with the understanding that Padilla would repay the
methamphetamine once he obtained more. On January 17, 2015, I called
Padilla, using a telephone to arrange a drug crime by arranging for Padilla
to send methamphetamine to me, telling him that my customers were looking
for methamphetamine. The following day, on January 18, 2015, I asked
Padilla to send more methamphetamine, as my supply was being bought
quickly. I arranged to provide stolen merchandise to Padilla in payment for
the methamphetamine, and Padilla sent eight grams of methamphetamine to
 

 

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me. On January 24, 2015, I arranged to give Padilla a stolen computer and

additional money so that Padilla could obtain more methamphetamine. On

January 25, 2015, I asked Padilla to send Freddy Lucero to bring

methamphetamine to me, as Padilla told me he anticipated receiving more

methamphetamine that evening. On January 29, 2015, I provided a new
phone to Padilla because of his fears that his current phone was being
monitored by federal agents. After that date I continued conspiring with

Padilla, and continued to obtain methamphetamine from him to sell to my

customers. I knew that the substance we were selling was

methamphetamine, and I participated in the conspiracy knowingly and
voluntarily.

9, By signing this agreement, the defendant admits that there is a factual basis for
each element of the crime(s) to which the defendant will plead guilty. The defendant agrees that
the Court may rely on any of these facts, as well as facts in the presentence report, to determine
the defendant's sentence, including, but not limited to, the advisory guideline offense level.

STIPULATIONS

10. | The United States and the defendant stipulate as follows:

a. Pursuant to USSG § 2D1.1(c), the parties stipulate that the defendant is
responsible for between 10 and 20 grams of a mixture and substance containing
methamphetamine.

b. Pursuant to USSG § 3E1.1(a), the defendant has clearly demonstrated a
recognition and affirmative acceptance of personal responsibility for the defendant's criminal
conduct. Consequently, so long as the defendant continues to accept responsibility for the
defendant's criminal conduct, the defendant is entitled to a reduction of two (2) levels from the
base offense level as calculated under the sentencing guidelines. This reduction is contingent
upon the defendant providing an appropriate oral or written statement to the United States

probation officer who prepares the presentence report in this case in which the defendant clearly

establishes the defendant's entitlement to this reduction.
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C. Provided the defendant meets the requirements of USSG § 3E1.1(b), the
government agrees to move for a reduction of one (1) additional level from the base offense level
as calculated under the sentencing guidelines.

d. Pursuant to USSG § 3B1.2, the defendant was a minor participant in the
criminal activity underlying this agreement. Consequently, the defendant is entitled to a
reduction of two (2) levels from the base offense level as calculated under the sentencing
guidelines.

€. Apart from the provisions in this plea agreement, the United States and the
Defendant reserve their rights to assert any position or argument with respect to the sentence to
be imposed, including but not limited to the applicability of particular sentencing guidelines and
adjustments under the guidelines.

11. The defendant understands that the above stipulations are not binding on the
Court and that whether the Court accepts these stipulations is a matter solely within the
discretion of the Court after it has reviewed the presentence report. Further, the defendant
understands that the Court may choose to vary from the advisory guideline sentence. The
defendant understands that if the Court does not accept any one or more of the above stipulations
and reaches an advisory guideline sentence different than expected by the defendant, or if the
Court varies from the advisory guideline range, the defendant will not seek to withdraw the
defendant's plea of guilty. In other words, regardless of any stipulations the parties may enter
into, the defendant's final sentence is solely within the discretion of the Court.

DEFENDANT'S OBLIGATIONS
12. The defendant understands the defendant's obligation to provide the United States

Probation Office with truthful, accurate, and complete information, including, but not limited to

 

 
 

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defendant's true identity, citizenship status, and any prior criminal convictions. The defendant
hereby represents that the defendant has complied with and will continue to comply with this
obligation. The defendant understands that any misrepresentation with respect to the above
obligations may be considered a breach of this plea agreement.

IMMIGRATION REMOVAL AND OTHER IMMIGRATION CONSEQUENCES

13. Defendant recognizes that pleading guilty may have consequences with respect to
defendant's immigration status if defendant is not a citizen of the United States. Under federal
law, a broad range of crimes are removable offenses, including the offense(s) to which defendant
is pleading guilty. Indeed, because defendant is pleading guilty to a controlled substance
offense, removal is presumptively mandatory. Removal and other immigration consequences are
the subject of a separate proceeding, however, and defendant understands that no one, including
defendant's attorney or the district court, can predict to a certainty the effect of defendant's
conviction on defendant's immigration consequences that defendant's plea may entail, even if the
consequences include defendant's automatic removal from the United States.

WAIVER OF APPEAL RIGHTS

14. The defendant is aware that 28 U.S.C. § 1291 and 18 U.S.C. § 3742 afford a
defendant the right to appeal a conviction and the sentence imposed. Acknowledging that, the
defendant knowingly waives the right to appeal the defendant's conviction(s) and any sentence,
including any fine, at or under the maximum statutory penalty authorized by law, as well as any
order of restitution entered by the Court. In addition, the defendant agrees to waive any
collateral attack to the defendant's conviction(s) and any sentence, including any fine, pursuant to
28 U.S.C. §§ 2241, 2255, or any other extraordinary writ, ‘extept on the issue of defense

counsel's ineffective assistance.
 

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GOVERNMENT'S AGREEMENT

15. Provided that the defendant fulfills the defendant's obligations as set out above,
the United States agrees not to bring additional criminal charges against the defendant arising out
of the facts forming the basis of the present Indictment.

16. This agreement is limited to the United States Attorney's Office for the District of
New Mexico and does not bind any other federal, state, or local agencies or prosecuting
authorities.

VOLUNTARY PLEA

17. The defendant agrees and represents that this plea of guilty is freely and
voluntarily made and is not the result of force, threats or promises (other than the promises set
forth in this plea agreement and any addenda). There have been no representations or promises
from anyone as to what sentence the Court will impose.

VIOLATION OF PLEA AGREEMENT

18. The defendant understands and agrees that if the defendant or the defendant's
attorney violates any provision of this plea agreement, the United States may declare. this plea
agreement null and void, and the defendant will thereafter be subject to prosecution for any
criminal violation including, but not limited to, any crime(s) or offense(s) contained in or related
to the charges in this case, as well as perjury, false statement, and obstruction of justice, and any
other crime committed by the defendant during prosecution of this case.

SPECIAL ASSESSMENT
19. At the time of sentencing, the defendant will tender a money order or certified

check payable to the order of the United States District Court, District of New Mexico, 333

 

 

 
 

 

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Lomas Boulevard, NW, Albuquerque, New Mexico 87102, in the,amount of $200.00 in payment
of the special penalty assessment described above.
ENTIRETY OF AGREEMENT

20. This document and any addenda are a complete statement of the agreement in this
case and may not be altered unless done so in writing and signed by all parties. The parties agree
and stipulate that this agreement will be considered part of the record of defendant's guilty plea
hearing as if the entire agreement had been read into the record of the proceeding. This
agreement is effective upon signature by the defendant and an Assistant United States Attorney,
and upon entry of a guilty plea by the defendant pursuant to this agreement.

AGREED TO AND SIGNED this [c day of Se ete walo ey 2015.

 

DAMON P: MARTINEZ
United States Attorney

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EDWIN GARRETH WINSTEAD
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This agreement has been read to me in the language I understand best, and I have
carefully discussed every part of it with my attorney. I understand the terms of this agreement,
and I voluntarily agree to those terms. My attorney has advised me of my rights, of possible
defenses, of the sentencing factors set forth in 18 U.S.C. § 3553(a), of the relevant sentencing
guidelines provisions, and of the consequences of entering into this agreement. No promises or
inducements have been given to me other than those contained in this agreement. No one has
threatened or forced me in any way to enter into this agreement. Finally, I am satisfied with the

representation of my attorney in this matter.
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RNICE HOLGUIN MIRANDA
Defendant

I am the attorney for BERNICE HOLGUIN MIRANDA. | have carefully discussed
every part of this agreement with my client. Further, I have fully advised my client of her rights,
of possible defenses, of the sentencing factors set forth in 18 U.S.C. § 3553(a), of the relevant
sentencing guidelines provisions, and of the consequences of entering into this agreement. To
my knowledge, my client's decision to enter into this agreement is an informed and voluntary

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CORI ANN. HARBOUR-VALDEZ
Attorney for Defendant

 
